_, Case 1:07-mj-00996-MDG Document1 Filed 09/12/07 Page 1 of 22 PagelD #: 1

_ M07-09 96

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

—- = ]— Fe aaa a a a eae a ea ei xX
UNITED STATES OF AMERICA REMOVAL TO THE
WESTERN DISTRICT OF
- against - OF NEW YORK
HUSSEIN SALEH, (Fed. R. Crim. P. 5)
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

BRIAN HURWITZ, being duly sworn, deposes and states
that he is a Special Agent with Immigration and Customs
Enforcement (“ICE”), duly appointed according to law and acting
as such.

Upon information and belief, on or about September 11,:
2007, a warrant was issued by the United States District Court
for the Western District of New York commanding the arrest of the
defendant HUSSEIN SALEH pursuant to an indictment for conspiracy
to traffic in counterfeit merchandise, in violation of Title 18,
United States Code, Section 371.

The source of your deponent’s information and the
grounds for his belief are as follows:

1. On or about September 11, 2007, the defendant
HUSSEIN SALEH was charged in an indictment in the Western
District of New York with conspiracy to traffic in counterfeit
merchandise, in violation of Title 18, United States Code,

Section 371. A copy of the indictment is attached hereto.
Case 1:07-mj-O0996-MDG Document1 Filed 09/12/07 Page 2 of 22 PagelD #: 2

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2. A warrant for the arrest of the defendant HUSSEIN
SALEH was issued by a Clerk of the Court for the United States
District Court for the Western District of New York, on or about
September 11, 2007, in connection with the indictment. A copy of
the warrant is attached hereto.

3. Through surveillance and ICE and DMV records
checks, ICE learned that the defendant HUSSEIN SALEH was residing
at 6823 Ridge Boulevard, Apartment 6, Brooklyn, New York.

4, On September 11, 2007, ICE agents went to 6823
Ridge Boulevard, Apartment 6, Brooklyn, New York, and cbserved an
individual matching a photograph of the defendant HUSSEIN SALEH
provided by other ICE agents. The defendant stated that his true
name was “Hussein Sara.” The defendant was advised of, and
waived, his Miranda rights and stated in sum and substance that

he was the individual wanted in the warrant and named in the
Case 1:07-mj-0O0996-MDG Document1 Filed 09/12/07 Page 3 of 22 PagelD #: 3

indictment. The defendant was subsequently arrested.
WHEREFORE, it is requested that the defendant HUSSEIN

SALEH be removed to the Western District of New York so that they

may be dealt with according to law.
foo. Po

Brian Hurwitz
Special Agent
ICE

    

 

UNITHD STATES MAGESTRATE DGE
EASTERN DISTRICT OF NEW YORK
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IN THE DISTRICT COURT OF THE UNITED STATES

For the Western District of New York

 

MAY 2007 GRAND JURY
(Impaneled May 4, 2007)
THE UNITED STATES OF AMERICA
-ps- .

MALIK BAZZI, Violations: Ov CR 21 oof
WANG HE BIN, a/k/a JULIE WANG,

a/k/a HE BIN HUANG WANG, . .
HUANG YUE FENG, a/k/a CHARLIE, Title 18, United States Code,
XU HANG WANG, a/k/a HENRY, Section 371 (Conspiracy)
CORTEZ D. WATERS, a/k/a TEZ, Title 18, United States Code,
MORICHA. . Re Section 2320 (Trafficking in
ABDULWALI K SIDDIOQ, a/k/a ABDUL Counterfeit Goods)

WALI KASHI SUDDIG, a/k/a

ANTHONY BRINSON,
RICK RODGERS, ° .
NICHOLAS MALLORY, (4 Counts and Forfeitures)
NASSER RACHID,
HUSSEIN SALEH,
ABBAS NAIM,
VICTOR Last Name Unknown

(hereinafter,” LNU”),
LAKEITH FOWLER, a/k/a KEITH, |
GREG SMILEY,
WILLIAM DENTON, a/k/a WILLIAM

DENTON WOODSON,
DAVION BRIANT,
MARK MILLER,
TYRONE FLOWERS,
KIM TILLINGHAST,
LING ZHEN HU,
XIAO CHENG LIN,
TERESA FUNG, a/k/a HUA YEN FUNG,

Defendants.

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IN THE DISTRICT COURT OF THE UNITED STATES

For the Western District of New York Co

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MAY 2007 GRAND JURY
(Impaneled May 4, 2007)

 

THE UNITED STATES OF AMERICA

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MALIK BAZZI, Violations:

WANG HE BIN, a/k/a JULIE WANG,
a/k/a HE BIN HUANG WANG, Title 18, United States Code,

HUANG YUE.FENG, a/k/a CHARLIE,

XU HANG WANG, a/k/a HENRY, Section 371 (Conspiracy)

CORTEZ.D. WATERS, a/k/a TEZ, Title 18, United States Code,
a/k/a NATURE, © Section 2320 (Trafficking in.
MORICIA WATERS, Counterfeit Goods)

ABDULWALI K SIDDIQ, a/k/a ABDUL
WALI KASHI SUDDIG, a/k/a
ANTHONY BRINSON,

“RICK RODGERS,
NICHOLAS MALLORY,
NASSER RACHID,

' “HUSSEIN SALEH,

ABBAS NAIM, |

VICTOR Last Name Unknown
(hereinafter,” LNU”),

LAKEITH FOWLER, ‘a/k/a KEITH,

GREG SMILEY,

WILLIAM DENTON, a/k/a WILLIAM
DENTON WOODSON,

DAVION BRIANT,

MARK MILLER, .

TYRONE FLOWERS,

KIM TILLINGHAST,

LING ZHEN HU,

XIAO CHENG LIN,

TERESA FUNG, a/k/a HUA YEN FUNG,

(4 Counts and Forfeitures)

Defendants.
Case 1:07-mj-O0996-MDG Document1 Filed 09/12/07 Page 6 of 22 PagelD #: 6

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The Grand Jury Charges:
A. INTRODUCTION
At all times material to this Indictment:
1. Nike, Inc. (“Nike”), is a corporation with principal
offices located in the State of Oregon.
2. . Nike is involved in the business of designing, marketing,

and distributing a wide variety of athletic footwear and
sportswear. Products designed, marketed, and distributed by Nike

‘meet strict quality control standards.

3~. Nike limits sales of its products to Nike approved
vendors and Nike owned retail outlets, in order to ensure that its
products are presented in a manner that protects the Nike brand and

its trademarks.

4, As defined in federal law, a trademark is any word, name,
symbol, or device or any combination thereof, used by a person ta
distinguish his or her goods, including a unique product, from that
manufactured or sold by others and to ‘indicate the source of the

goods.
» -»« +» Case 1:07-mj-00996-MDG Document1 Filed 09/12/07 Page 7 of 22 PagelD #: 7
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5. -°A “registered trademark,” as defined in federal law, is

a trademark: registered in the United States Patent and’ Trademark

Office according to law.

6. Nike products, including footwear, bear a number of
registered trademarks (“marks”) registered on the principal
register of the United States Patent and Trademark Office. These
trademarks included, among others, the Nike “Swoosh,” the name

“Nike,” and the word “Nike” and the “Swoosh” together.

7. At all times relevant to thig Indictment, a “counterfeit
mark,” as defined in federal law, is a’spurious mark that is used
in connection with trafficking in goods, services, boxes, and
packaging of any type which is identical to, or substantially . .
indistinguishable from, a mark registered for those goods, or
consists of a box or packaging of any type or nature that is
designed, marketed, or otherwise intended. to he used on er in
connection with the goods, for which the mark is registered in the
United States Patent and Trademark Office, and the use of which is

. likely to cause confusion, to cause mistake, or to deceive.

8.:- Selling merchandise with counterfeit marks harms many

innocent victims, including:
Case 1:07-mj-0O0996-MDG Document1 Filed 09/12/07 Page 8 of 22 PagelD #: 8
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a. the holder of the registered trademark, who loses, at a
minimum, the sale price of goods bearing the counterfeit mark, and
also, potential future sales due to the inferior quality of
counterfeit merchandise; |

b. authorized retailers who cannot compete with the prices

offered by persons selling counterfeit goods;

c. employees of such registered trademark holders and retailers;

and

d. unwitting consumers who purchase inferior merchandise.
COUNT ONE

(Conspiracy to Traffic in Counterfeit Goods)

9. The factual allegations set forth in the Introduction of
this Indictment are hereby repeated and incorporated herein by

reference.

10. From somet ime prior to April, 2007, the exact date being
to the Grand Jury unknown, through in or about the date of the
Indictment herein, in the Western ‘District of New York and
elsewhere, the defendants, |

MALIK BAZZI,

WANG HE BIN, a/k/a Julie Wang, a/k/a He Bin Huang Wang,
HUANG YUE FENG, a/k/a Charlie,

XU HANG WANG, a/k/a Henry,

CORTEZ D. WATERS, a/k/a Tez, a/k/a Nature,

MORICIA WATERS, ,
094127 2007-9 '3t BAX VIeeSPhAIDG DOCUMRePiNvESTRATONS/07 Page 9 of 22 PagelD #: Qo17

ABDULWALI K SIDDIQ, a/k/a Abdul Wali Kashi Suddig,
a/k/a Anthony Brinson, .

RICK RODGERS,

NICHOLAS MALLORY,

NASSER RACHID,

HUSSEIN SALEH,

ABBAS NAIM,

VICTOR LNU,

LAKEITH FOWLER, a/k/a Keith,

GREG SMILEY,

WILLIAM DENTON, a/k/a William Denton Woodson,

DAVION BRIANT,

MARK MILLER,

TYRONE FLOWERS,

KIM TILLINGHAST,

LING ZHEN HU,

XIAO CHENG LIN,

. TERESA FUNG, a/k/a Hua Yen Pung,

and others, known and unkriown, did knowingly and willfully conspire.
and agree, together and ‘with each other, to commit an offense
against the United States; namely, to intentionally traffic and
attempt to traffic in goods, to wit: footwear, while knowingly

using, on and in connection with such goods, counterfeit marks of

Nike, in violation of Title 18 U.S.C. Section 2320.
THE DEFENDANTS’ CRIMINAL SCHEME

11. Commencing sometime prior to April, 2007, the exact date
being unknown to the Grand Jury, through the date of this
Indictment, the defendants and others, both known and unknown,
devised and engaged in a criminal scheme to traffic in millions of

dollars of footwear bearing counterfeit Nike marks. . The scheme

 
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involved defendants WANG HE BIN, HUANG YUE FENG, and XU HANG WANG
“inporting containers with hundreds of thousands of pairs of -
footwear bearing counterfeit Nike marks made and shipped from
locations located within the People’s Republic of China. Upon
arrival of the merchandise in the United States, the footwear
bearing counterfeit Nike marks was distributed to BAZZI, and
others, who with RACHID, SALEH, NAIM ‘and VICTOR sold the footwear
to large retailers located in various cities in the United States,
CORTEZ WATERS, MORICIA WATERS, SIDDIQ, RODGERS, MALLORY, FOWLER,
SMILEY, DENTON, BRIANT, ‘MILLER, FLOWERS, and TILLINGHAST received
and thereafter sold the footwear bearing counterfeit Nike marks in
Buffalo, Niagara Falls, and Rochester, New York; ‘Milwaukee,
Wisconsin; Chicago, Illinois; Pittsburgh, Pennsylvania; Pawtucket,
Rhode Island; Dallas, Texas; and in the State of Georgia. LING
ZHEN HU XIAO and CHENG LIN also supplied BAZZI and others with
massive quantities of footwear bearing counterfeit Nike marks,
which sneakers were also then distributed to conspirators. Among
other things, FUNG used the offices of The UPS Store, 328 Bt

Avenue, New York, New. York, in furtherance of the above criminal

scheme.
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OVERT ACTS

12. The defendants committed the following overt acts, among

others, within the Western District of New York:

13. On or about April 14, 2007, CORTEZ WATERS told a person
whose name is known to the Grand Jury,.in sum and in substance, to
go to the store owned by RICK RODGERS on Pine Avenue to purchase

sneakers bearing counterfeit Nike marks.

‘14. On or about April 15, 2007, CORTEZ WATERS told MALIK
BAZZI, in sum and in substance, that he would drive to New York
City tomorrow to pick up his next order of sneakers bearing

counterfeit Nike marks.

15. On or about April 24, 2007, MALIK BAZZI shipped 994 pairs
of sneakers bearing counterfeit Nike marks to CORTEZ WATERS in

Buffalo, New York.

16. On or about April 24, 2007, MORICIA WATERS and CORTEZ
WATERS discussed, among other things, and in sum and substance,
that they were receiving a large shipment of sneakers bearing
counterfeit Nike marks from BAZZI, and that in the future, they may

need to start using a different address.
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17. On or about April 27, 2007, CORTEZ WATERS received at 79
Peace Street, Buffalo, New York, 994 pairs of sneakers bearing

counterfeit Nike marks, which had been shipped by MALIK BAZZI.

18. On or about May 5, 2007, CORTEZ WATERS and ABDULWALI
SIDDIOQ transported a large quantity of sneakers bearing counterfeit

Nike marks from New York City to Buffalo, New York.

19. On or about May 24, 2007, CORTEZ WATERS possessed a large

quantity of sneakers bearing counterfeit Nike marks in Buffalo, New

York.

20. On or about June 3, 2007, CORTEZ WATERS and ABDULWALI
SIDDIQ traveled from Buffalo, New York to New York City for the

purpose of purchasing from MALIK BAZZI large quantities of sneakers

bearing counterfeit Nike marks.

21. On or about June 7, 2007, CORTEZ WATERS and NICK MALLORY

sold sneakers bearing counterfeit Nike marks.

22. On or about June 18, 2007, CORTEZ WATERS told NICK
MALLORY, among other things, and in sum and substance, that he will

receive new products the following week, and that he made $9,000

this week.

 
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23. Onor about August 16, 2007, CORTEZ WATERS and ABDULWALI
SIDDIOQ traveled from Buffalo, New York to New York City to’ purchase

from MALIK BAZZI sneakers bearing counterfeit Nike marks.

24. On our about August 17, 2007, CORTEZ WATERS told MALIK
BAZZI, among other things, and in sum and substance, that a guy
called the police on him for the sneakers, to which BAZZI replied

that WATERS should be careful.
All in violation of Title 18, United States code, Section 371.
COUNT TWO

25. The factual allegations contained within paragraphs 1-8

of the Introduction to this Indictment are realleged and

incorporated herein by reference.

26. On or about April 27, 2007, in the Western District of
New York and elsewhere, the defendants,
MALIK BAZZ2ZI,

CORTEZ D. WATERS, a/k/a Tez, a/k/a Nature, and
MORICIA WATERS,

did intentionally traffic and attempt to traffic in goods,
specifically, footwear, and knowingly used counterfeit marks on and

in connection with such goods, which counterfeit marks were

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identical with and substantially indistinguishable from genuine
marks in use and registered for those goods on the principal
register in the United States Patent and Trademark Office, and the

use of which marks is likely to cause confusion, to cause mistake,

and to deceive.

In violation of Title 18, United States Code, Sections 2320 (a)

and 2.

COUNT THREE

27. The factual allegations contained within paragraphs 1-8
of the Introduction to this Indictment are realleged and

incorporated herein by reference.

28. On or about May 24, 2007, in the Western District of New
York and elsewhere, the defendants, -

MALIK BAZZI,
CORTEZ D. WATERS, a/k/a Tez, a/k/a Nature, and
ABDULWALI K SIDDIQ, a/k/a Abdul Wali Kashi Suddig,
a/k/a Anthony. Brinson,
did intentionally traffic and attempt to traffic in goods,
specifically, footwear, and knowingly used counterfeit marks on and

in connection with such goods, which counterfeit marks were

identical with and substantially indistinguishable from genuine

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marks in use and registered for those goods on the principal
register in the United States Patent and Trademark Office, and the
use of which marks is likely to cause confusion, to cause mistake,

and:to deceive.

In violation of Title 18, United States Code, Sections 2320 (a)

and 2.
COUNT FOUR

29. The factual allegations contained within paragraphs 1-8
of the Introduction to this Indictment are realleged and

incorporated herein by reference.

30. On or about June 7, 2007, in the Western District of New
York and, elsewhere, the defendant,

CORTEZ D. WATERS, a/k/a Tez, a/k/a Nature,
did intentionally traffic and attempt to traffic in goods,
specifically, footwear, and knowingly used counterfeit marks on and
in connection with such goods, - which counterfeit marks were
identical with and substantially indistinguishable from genuine
marks in. use and registered for those goods on the principal

register in the United States Patent and Trademark Office, and the

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use of which marks is likely to cause confusion, to cause mistake,

and to deceive.

In violation of Title 18, United States Code, Sections 2320 (a)

and 2.

FORFEITURE ALLEGATION

The Grand Jury Further Alleges:

31. Asa result of committing the foregoing offenses. alleged
in Count 1 of this Indictment, the defendants, MALIK BAZZI, WANG HE
BIN a/k/a JULIE WANG a/k/a HE BIN HUANG WANG, HUANG YUE FENG, a/k/a
CHARLIE, XU HANG WANG, a/k/a HENRY, CORTEZ D. WATERS, a/k/a TEZ,
a/k/a NATURE, MORICIA WATERS, ABDULWALI K SIDDIQ, a/k/a ABDUL WALI
KASHI SUDDIG, a/k/a ANTHONY BRINSON, RICK RODGERS , NICK MALLORY,
NASSER RACHID, HUSSEIN SALEH, ABBAS NAIM, VICTOR Last Name Unknown
(hereinafeter “LNU”), LAKEITH FOWLER, a/k/a KEITH, GREG SMILEY,
WILLIAM DENTON, a/k/a. WILLIAM DENTON WOODSON, DAVION BRIANT, MARK
MILLER, LING ZHEN HU, TERESA FUNG, a/k/a HUA YEN FUNG, and each of
them jointly and severally, shall forfeit to the United States any
property, real or personal, which constitutes or is derived from
proceeds traceable to an offense constituting specified unlawful

activity, to wit, Title 18, United States Code, Section 2320 or a

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conspiracy to commit such offense, including but not Limited to the

following:

MONETARY AMOUNT

The sum of approximately $3,504,046.00 in United States

currency.

FINANCIAL ACCOUNTS
As to defendant LAKEITH FOWLER:

A. The contents and monies contained within JP Morgan Chase
Bank Account Number 721118651 in the name of Lakeith
Fowler d/b/a The World is Yours Inc., having a balance as

of September 7, 2007 of $21,824.94.

B. The contents and monies contained with Northwestern
Mutual Life Insurance Company Variable Annuity Policy
number 17816564 in- the name of Lakeith Fowler, having a

balance as of September 6, 2007 of $23,735.76.

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COUNTERFEIT PROPERTY AND ARTICLES

All counterfeit sneakers and shoe products bearing or

consisting of counterfeit Nike markings.
SUBSTITUTE ASSETS

If any of the property described in subsection (a) of this

section, as a result of any act or omission of the defendant;

1.) cannot be located upon the exercise of due diligence;
2.) has been transferred or sold to, or deposited with, a

third party;

3.) has been placed beyond the jurisdiction of the court;
4.) has been substantially diminished in value; or
5.) has been commingled with other property which cannot be

divided without difficulty;

the court shall order the forfeiture of any other property of the

defendants up to the value of the property sought forfeited

including but not limited to the following:

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REAL PROPERTY
As to defendant NASSER RACHID:

A. The premises and real property with its buildings,
improvements, fixtures, attachments and easements, known
as 64 Bileen Drive, Cedar Grove, New Jersey; ‘that is,
all that tract or parcel of land, situate in the Town of
Cedar Grove, County of Essex and State of New Jersey and
more particularly described in a certain deed dated April
5, 2007, and recorded in Liber 12045 of deeds at page

4821 of the Essex County Clerk’s Office.

B.. The premises and real property with its buildings,
improvements, fixtures, attachments and easements, known
as 10404 Coyote Cub Avenue, Las Vegas, Nevada, 89129;
that is, all that tract or parcel of land, situate in the
city of Las Vegas, Clark County and State of Nevada and
more particularly described in a certain deed dated
October 12, 2004, and’ recorded in document number

20041028-0007041 of the Clark County Clerk’s Office.

Cc. The premises and real property with its buildings,

improvements, fixtures, attachments and easements, known

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as 10429 Coyote Cub Avenue, Las Vegas, Nevada, 89129;
that is, all that tract oer parcel of land, situate in the
city of Las Vegas, Clark County and State of Nevada and
more particularly described in a certain deed dated
October 12, 2004, and recorded in document number

20041025-0003398 of the Clark County Clerk’s Office.

As to defendants WANG HE BIN, a/k/a JULIE WANG, a/k/a HE BIN HUANG
WANG and HUANG YE FENG, a/k/a CHARLIE:

A. The premises and real property with its buildings,

improvements, fixtures, attachments and easements, known

as 417 Bradley Avenue, Staten Island, New York, 10314;

that is, all that tract or parcel of land, situate in the

city of Staten Island, County of Richmond and State of

New York and more particularly described in a certain

deed dated December 7, 2005, and recorded in Liber 17312

of Deeds at Page 91 ‘of the Richmond County Clerk’s

Office.
As to defendant LAKEITH FOWLER:

A. The premises and real property’ with its buildings,
improvements, fixtures, attachments and easements, known

as 3110 Thomas Avenue, Unit 1123, Dallas, Texas, 75204;

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that is, all that tract or parcel of land,

situate in the

city of Dallas, County of Dallas and State of Texas and

more particularly described in a certain deed dated May

5, 2006,

and recorded in document number 200600170500 of

‘the Dallas County Clerk’s Office.

All pursuant to Title

981(a) (1)(C), Title 28,

Title 21, United States Code,

DATED:

BY:

A TRUE BILL:

» pe. tlh

FOREPERSON

United States Code,

18, United States Code, Section
Section 2461(c) and

Section 853(p).

Buffalo, New York, September // , 2007,

TERRANCE.P. FLYNN
United States Attorney

Ve hill f,.

WILLIAM J. LL,
Assistant/ United States ttorney
United States Attorney's Office
Western District of New York

138 Delaware Avenue

Buffalo, New York 14202
716-843-5700, ext. 887

william. hochul@usdoj.gov

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AO 442 (Rev. 5/93) Warrant for Arrest

United States District Court

 

 

- WESTERN DISTRICT OF NEW_YORK
UNITED STATES OF AMERICA S EAL E D
Vv.
WARRANT FOR ARREST

HUSSEIN SALEH -

CASE NUMBER: 07-M
To: The United States Marshal

and any Authorized United States Officer
OT CR 212

YOU ARE HEREBY COMMANDED to arrest HUSSEIN SALEH

Name
and bring him or her forthwith to the nearest magistrate judge to answer a(n) -

(X)Indictment {Information ()Complaint ( )Order of Court ( )Violation Notice ()Probation Violation Petition

charging him or her with brief description of offense)

conspiracy to traffic in counterfeit merchandise

 

 

 

 

 

 

all in violation of Title 18 United States Code, Section(s)__371 °
RODNEY C. EARLY CLERK OF THE COURT
Name of Issuing Officer Title of Issuing Officer
ope ‘\ y
i Viele ee ao ae 1 io aT Te tee

ia wee September 2007, Buffalo, N.Y.
Signature of Issuing ware . oma = Date and Location
Bail fixed at. $ = ad by

an we Name of Judicial Officer

 

RETURN ©

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER | SIGNATURE OF ARRESTING OFFICER

DATE OF ARREST

 

 

 

 

 
